Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 1 of 20




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                       Case No.__________-Civ

  WARREN B. MOSLER, an individual,

         Plaintiff,
  vs.

  JAMES TODD WAGNER, an individual,

         Defendant.

  _______________________________________/

                                             COMPLAINT

         Plaintiff WARREN B. MOSLER, an individual (“Plaintiff” or “Warren Mosler”), by and

  through his undersigned counsel, sues JAMES TODD WAGNER, an individual (“Defendant” or

  “James Todd Wagner”), and alleges:

                                          INTRODUCTION

         Plaintiff Warren Mosler is an economist, theorist, financial professional, and entrepreneur

  who was improperly targeted by Defendant James Todd Wagner in a lawsuit entitled James Todd

  Wagner, et al. v. Warren Mosler, et al., Case No. 50-2012-CA-023358-XXXX-MB, in the

  Fifteenth Judicial Circuit in and for Palm Beach County, Florida (the “State Court Lawsuit”).

  Following 10 years of litigation and a jury trial in the State Court Lawsuit, the trial judge presiding

  over the State Court Lawsuit entered a final judgment whereby, among other things, Warren

  Mosler prevailed on all counts asserted against him by James Todd Wagner. Now, in retaliation

  for Warren Mosler prevailing at the trial level in the State Court Lawsuit, James Todd Wagner has

  embarked on a campaign to defame Warren Mosler through webpages and YouTube videos that

  James Todd Wagner knows will be viewed by persons seeking information about Warren Mosler




                                                    1
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 2 of 20




  and other persons. For example, Warren Mosler maintains a webpage at the domain

  www.WarrenMosler.com. Following James Todd Wagner’s defeat at the trial level in the State

  Court Lawsuit, James Todd Wagner registered the domain WarrenMosler.co (identical to Warren

  Mosler’s domain WarrenMosler.com but without the final “m” in .com). James Todd Wagner did

  so to knowingly and maliciously publicly defame Warren Mosler following James Todd Wagner’s

  loss in the trial court of the State Court Lawsuit.

                                            THE PARTIES

           1.    Warren Mosler is a resident of the U.S. Virgin Islands and is otherwise sui juris.

           2.    James Todd Wagner is a resident of Broward County, Florida and is otherwise sui

  juris.

                                   JURISDICTION AND VENUE

           3.    This Court has subject matter jurisdiction over this action as Warren Mosler is a

  citizen of the U.S. Virgin Islands and James Todd Wagner is a citizen of the state of Florida and

  the amount in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

           4.    James Todd Wagner is subject to personal jurisdiction in this Court by virtue of

  James Todd Wagner residing in this judicial district.

           5.    Venue is proper in this Court as James Todd Wagner resides in this judicial district.

                                     GENERAL ALLEGATIONS

           6.    Warren Mosler co-founded AVM L.P., a broker/dealer providing advanced

  financial services to large institutional accounts and the Illinois Income Investors (III) family of

  investment funds in 1982. He holds a B.A. in Economics from the University of Connecticut and

  remains deeply involved in the academic community. He has given presentations at conferences

  around the world and published numerous articles in economic journals, newspapers, and




                                                    2
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 3 of 20




  periodicals. Warren Mosler is one of the leading voices supporting Modern Monetary Theory, a

  macroeconomic theory. Warren Mosler is also the author of “The Seven Deadly Innocent Frauds

  of Economic Policy” that has been translated into Italian, Polish, Russian, Spanish, and Arabic.

  Warren Mosler also founded Mosler Auto Care Center, Inc. (“MACC”).

       7.        James Todd Wagner is an ex-employee of MACC. James Todd Wagner and his

  entity Supercar Engineering, Inc. (“SEI”) are plaintiffs in the State Court Lawsuit, which

  commenced in 2012, against Warren Mosler and MACC.

       8.        In May 2023, there was a jury trial of the claims in the State Court Lawsuit.

       9.        In September 2024, James Todd Wagner registered the domains WarrenMosler.co,

  JudgeX.org, and ModernMonetaryTheory-Scam.com.

       10.       In connection with James Todd Wagner registering the domains WarrenMosler.co,

  JudgeX.org, and ModernMonetaryTheory-Scam.com, James Todd Wagner created webpages

  available through those domains and published defamatory statements regarding Warren Mosler

  on those webpages. Additionally, James Todd Wagner created YouTube channels through which

  James Todd Wagner published defamatory statements regarding Warren Mosler.

       11.       On December 13, 2024, Judge Luis Delgado, the trial judge in the State Court

  Lawsuit, rendered a Final Judgment stating that Warren Mosler prevailed against James Todd

  Wagner on all claims asserted by James Todd Wagner against Warren Mosler.

  A.     The JudgeX.org Webpages.

       12.       On the webpage available through the domain JudgeX.org, James Todd Wagner

  states, among other things, that “I invented (adapted decades-old statistical math) JudgeX in

  response to the Godfather of Modern Inflation, Warren Mosler, successfully bribing a Palm Beach

  County, Florida, circuit court Judge [Judge Luis Delgado] in order to escape from liability in a 12-




                                                  3
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 4 of 20




  year-running lawsuit that contained the following elements. There is recorded (text and video)

  sworn testimony from several witnesses on all elements listed below.”

       13.       Aside from the above false statement that Warren Mosler bribed Judge Delgado

  (the judge presiding over the State Court Lawsuit), James Todd Wagner makes numerous other

  false statements through the JudgeX webpages that Warren Mosler bribed the trial judge in the

  State Court Lawsuit and engaged in illegal activity, and the JudgeX webpage makes clear James

  Todd Wagner’s involvement in the publication of such statements.

       14.       The JudgeX.org webpage contains the following false and defamatory statements

  that Warren Mosler bribed the trial judge in the State Court Lawsuit and engaged in illegal activity:


                 a)




                 b)




                                                   4
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 5 of 20




             c)




                                       5
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 6 of 20




                 d)




                 e)      “I invented (adapted decades-old statistical math) JudgeX in response to the
                         Godfather of Modern Inflation, Warren Mosler, successfully bribing a Palm
                         Beach County, Florida, circuit court Judge [Judge Luis Delgado] in order to
                         escape from liability in a 12-year-running lawsuit that contained the
                         following elements”

                 f)      “A bribed Judge is part of a larger criminal act: Theft By Deception, Human
                         Trafficking, Rape, Blackmail / Extortion,… etc When criminals know they
                         have the option to bribe the Judge – criminals will be bolder in their efforts
                         to hurt us. The good guys outnumber the bad guys by 1000:1. JudgeX is a
                         tool for the good guys to mathematically illustrate when Men Like
                         Mosler have perverted the justice system that millions of Americans fought
                         and died to create/protect”

                 g)      “Theft By Deception, Human Trafficking, Rape, Blackmail / Extortion,…
                         etc When criminals know they have the option to bribe the Judge – criminals
                         will be bolder in their efforts to hurt us. The good guys outnumber the bad
                         guys by 1000:1. JudgeX is a tool for the good guys to mathematically
                         illustrate when Men Like Mosler have perverted the justice system that
                         millions of Americans fought and died to create/protect.”


     B. The JudgeX.org webpage - https://judgex.org/timeline-of-bribing-judge-luis-delgado/

         15.     The    JudgeX.org     webpage      https://judgex.org/timeline-of-bribing-judge-luis-

  delgado/ contains the following false and defamatory statements that Warren Mosler bribed the

  trial judge in the State Court Lawsuit and engaged in illegal activity:




                                                   6
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 7 of 20




                   a)      “Judicial & Court Corruption: Warren Mosler’s Bribery of Judge Luis
                           Delgado”

                   b)      “This is a brief timeline of the events surrounding Warren Mosler’s bribery
                           of Palm Beach County Circuit Court Judge Luis Delgado”

                   c)      “2023 (January),:Judge Delgado heard the last attempt by Warren Mosler
                           to have the Punitive Damages element removed from the Lawsuit. This
                           attempt was clearly fraud, as it ‘relied upon’ case law where the Defendant
                           was a Media Outlet that simply sent out a someone else’s statement. This
                           is called ‘republishing’, and isn’t relevant for Defamation.”
                           a.     “Judge Delgado denied Warren Mosler’s request for ‘Partial
                                  Summary Judgement’”.
                           b.     “This was the correct ruling, and Judge Delgado had not yet been
                                  bribed at this point.”

                   d)      “2023 (between January and March 30th): Warren Mosler successfully
                           bribed Judge Luis Delgado”

                   e)      “At the time, I had no ideal Judge Delgado had been bribed – so we made
                           cogent arguments.”

                   f)      “2023 (May 23rd); Day 9 of Trial. Then Delgado stripped away the
                           $200million Count by REVERSING HIS OWN PRE-BRIBE RULING OF
                           JUST 3 MONTHS EARLIER ON THE EXACT SAME BOGUS CASE
                           “MEDIA” LAW.”

                   g)      “And still, I thought the Judge was simply stupid…I didn’t imagine that
                           bribery could happen in America.”

                   h)      “Jan 2023 Pre-Bribe (Mosler Loses) Motion for Summary Judgement
                           Against Count 9: Defamation with Punitive Damages”

                   i)      “Jan 2023 Pre-Bribe (Mosler Loses) Motion for Summary Judgement
                           Against Count 9: Defamation with Punitive Damages” 1

                   j)      “2023 (May 25th): Day 11 of Trial. Judge Luis Delgado is bound and
                           determined to not let the Jury see the $200M and $110M Counts. Judge
                           Delgado can’t be too-obvious that he took a bribe, so he allows the Jury to
                           have a chance to give verdict on the remaining 4% of the case value. Judge
                           Delgado protected Mosler from any major verdict.”


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      This statement is repeated twice.



                                                    7
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 8 of 20




                 k)




     C. The JudgeX.org webpage - https://judgex.org/game-theory-the-nuclear-option/ -
        which now redirects to: https://judgex.org/kamala-harris-economic-illegal-
        immigration-policies/

         16.     The JudgeX.org webpage https://judgex.org/game-theory-the-nuclear-option/

  which now redirects to https://judgex.org/kamala-harris-economic-illegal-immigration-policies/ ,

  contains the following false and defamatory statements that Warren Mosler bribed the trial judge

  in the State Court Lawsuit and engaged in illegal activity:

                 a)      “How to fight back against judges taking bribes to let Men Like
                         Mosler escape liability for the harm they enjoy delivering to us.”
                 b)      “Mosler has the ARTILERY (MONEY) to successfully bribe a new Judge
                         out of Puerto Rico.”

                 c)      “As I build these tools to make America fair again, and ensure Mosler
                         doesn’t take pleasure in conquering me; the immortal words of Ferris
                         Bueller inhabit my mind: ‘If I’m going to get busted [conquered until I’m
                         broke], it’s not going to be by a guy like that [Judge-Bribing Tax-Evader
                         who has stolen from all of us].’”

                 d)      “The man controlling your money has executed numerous felonies
                         including Tax Evasion, Flagrant Violation of Clean Air Laws, Blackmail,



                                                  8
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 9 of 20




                         Extortion, Aiding in Insurance Fraud, Perjury, and more. Click here to
                         visit Warren Mosler.co”

     D. The JudgeX.org webpage - https://judgex.org/press-release/ which redirects to
        https://judgex.org/corrupt-judges-court-bribery-statistics/

         17.     The JudgeX.org webpage https://judgex.org/press-release/ which redirects to

  https://judgex.org/corrupt-judges-court-bribery-statistics/ contains the following false and

  defamatory statements that Warren Mosler bribed the trial judge in the State Court Lawsuit and

  engaged in illegal activity:

                 a)      “Corrupt Judges & Court Bribery Statistics: Godfather of Modern Inflation
                         Bribed Judge Luis Delgado”

                 b)      “Warren Mosler, founder of the $57,000,000,000 Hedge Fund, iiicm.com,
                         bribed a Palm Beach, Florida Judge to escape from $310,000,000+ of
                         compulsory and punitive damages. Removed the Jury.”

                 c)      “JudgeX.org shows how to use this tool, plus proves that Warren Mosler,
                         the man who rebranded ‘Warlord Economics’ into ‘Modern Monetary
                         Theory Scam’ (‘MMT’) bribed Judge Luis Delgado.”

                 d)      “If blackmail, extortion, perjury, insurance fraud, tax evasion, insider
                         trading, flagrant violation of clean air laws, and judicial bribery intrigue
                         you, please visit WarrenMosler.co”

                 e)      “WarrenMosler.co: A man who commits felonies for breakfast is shadow-
                         controlling our money and becoming fabulously wealthy from promoting
                         bribery and insider trading to Federal Reserves around the world. We cry at
                         Publix.”

     E. The JudgeX.org webpage - https://judgex.org/the-predator-class/

         18.     The JudgeX.org webpage https://judgex.org/the-predator-class/ contains the

  following false and defamatory statements that Warren Mosler bribed the trial judge in the State

  Court Lawsuit and engaged in illegal activity:

                 a)      “I am grateful that Warren Mosler’s hubris was such that he bribed Judge
                         Luis Delgado to wipe out what would otherwise have been a $300M +




                                                   9
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 10 of 20




                        Judgement including FRAUD             and   PUNITIVE       DAMAGES        for
                        DEFAMATION-FOR-PROFIT.”

     F. The JudgeX.org webpage - https://judgex.org/statistical-process-control/

         19.     The JudgeX.org webpage https://judgex.org/statistical-process-control/ contains

  the following false and defamatory statements that Warren Mosler bribed the trial judge in the

  State Court Lawsuit and engaged in illegal activity:

                 a)     “Bribed a circuit Court Judge, Luis Delgado (from Puerto Rico) to escape
                        $300M+ liability and civil judgement for both fraud and punitive
                        damages.”

                 b)     “If the assumptions were right-down-the-middle, it would be an immediate
                        revelation that Judge Delgado was bribed, thus these assumptions that favor
                        Judge Delgado / Warren Mosler are employed to drive home that there is
                        no reasonable doubt that Judge Delgado was successfully bribed.”

                 c)     “Given that Judge Luis Delgado from Puerto Rico is intelligent enough to
                        get into law school and pass the Bar exam; it is reasonable to conclude that
                        Judge Delgado was fully aware that he was ruling in favor of Warren Mosler
                        DESPITE THE LAW. Therefore, the reasonable conclusion is that there is
                        a 100% – 0.00000000001% = 99.999999999% probability that Judge
                        Delgado accepted a bribe from Warren Mosler for the purpose of delivering
                        victory to Mr. Mosler”

                 d)     “By the decades-old Statistical Process Control analysis, the Judicial
                        Process presided over by Judge Luis Delgado is NOT IN CONTROL. In
                        other words, Judge Delgado accepted a bribe from a multi-billionaire to
                        remove 99.8% of the value of Jury Trial away from the jury. This analysis
                        is independent of looking at the specifics of the evidence, but rather looking
                        at the whole of the output of the Judicial process.
                        Looking at the specifics of the evidence, there is Zero Probability that Judge
                        Delgado ruled honestly. The only thing that could possibly induce a
                        Judge, who has a rich lifetime pension from the taxpayers at stake, to issue
                        Orders this way is a bribe”

     G. The JudgeX.org webpage - https://judgex.org/how-to-guide/




                                                  10
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 11 of 20




          20.     The JudgeX.org webpage https://judgex.org/how-to-guide/ contains the following

  false and defamatory statements that Warren Mosler bribed the trial judge in the State Court

  Lawsuit and engaged in illegal activity:

                  a)     “In the Warren Mosler bribe of Judge Luis Delgado; I gave the Judge
                         IMMENSE Benefit-of-the-Doubt. Because Delgado was so brazen in
                         violating the written law SO MANY TIMES, the math still showed a
                         definitive bribe was accepted.”

  https://judgex.org/how-to-guide/

      H. The WarrenMosler.co webpage - https://warrenmosler.co

          21.     The https://warrenmosler.co webpage contains the following false and defamatory

  statements that Warren Mosler bribed the trial judge in the State Court Lawsuit and engaged in

  illegal activity:

                  a)     “How to fight back against judges taking bribes to let Men Like Mosler
                         escape liability for the harm they enjoy delivering to us.”

                  b)     “Find and join forces with other victims of the same (or similar) scam/rape
                         via Outmatched.Org (site in construction, but feel free to email)”

      I. The WarrenMosler.co webpage - https://warrenmosler.co/57b-insider-us-bond-
         trading/

          22.     The https://warrenmosler.co/57b-insider-us-bond-trading/ webpage contains the

  following false and defamatory statements that Warren Mosler bribed the trial judge in the State

  Court Lawsuit and engaged in illegal activity:

                  a)     “9. Bribe at least one Judge; Judge Luis Delgado out of Puerto Rico”

      J. The WarrenMosler.co webpage - https://warrenmosler.co/the-predator-class/




                                                   11
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 12 of 20




          23.        The https://warrenmosler.co/the-predator-class/ webpage contains the following

  false and defamatory statements that Warren Mosler bribed the trial judge in the State Court

  Lawsuit and engaged in illegal activity:

                     a)       “I am grateful that Warren Mosler’s hubris was such that he bribed Judge
                             Luis Delgado to wipe out what would otherwise have been a $300M +
                             Judgement including FRAUD and PUNITIVE DAMAGES for
                             DEFAMATION-FOR-PROFIT.”

      K. The WarrenMosler.co webpage - https://warrenmosler.co/brief-overview/ which now
         redirects to https://warrenmosler.co/mosler-legal-dispute/

          24.        The https://warrenmosler.co/the-predator-class/ webpage which now redirects to

  https://warrenmosler.co/mosler-legal-dispute/ contains the following false and defamatory

  statements that Warren Mosler bribed the trial judge in the State Court Lawsuit and engaged in

  illegal activity:

                     a)      “Bribing of Judge Luis Delgado of the 15th Judicial Circuit of Florida to
                             escape from approximately $310,000,000 of compulsory and punitive
                             damages after a 11-year-long lawsuit odyssey.”
      L. The WarrenMosler.co webpage - https://warrenmosler.co/spoliation/ which redirects
         to https://warrenmosler.co/mosler-evidence-hiding/

          25.        The https://warrenmosler.co/spoliation/ webpage contains false and defamatory

  statements that Warren Mosler bribed the trial judge in the State Court Lawsuit and engaged in

  illegal activity:

                a)        “THIS MAN IS SHADOW-CONTROLLING YOUR MONEY. YOU
                          SHOULD BE TERRIFIED.
                          •    I have done some volunteering (trying to fix the system – see
                               JudgeX.org) in the pursuit of curtailing/eliminating Human Trafficking.
                               Human Trafficking is the PC term for taking little girls from their
                               parents and having them be raped until death (the typical lifespan for a
                               sex-industry little girl is 7 years).
                          •    One of the ways the little girls die is being killed for pleasure by the
                               rapist.




                                                      12
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 13 of 20




                       •      Men Like Mosler take pleasure in the pain of weak souls they dominate.
                       •      It is amusing to Warren Mosler that I was “heartbroken”. Taking
                              pleasure in my pain.”

      M. The WarrenMosler.co webpage - https://warrenmosler.co/proof-of-judicial-bribery/

          26.     The           https://warrenmosler.co/top-fifty-favorite-warren-mosler-emails-and-

  documents-chonological-timeline/ webpage contains the following false and defamatory

  statements that Warren Mosler bribed the trial judge in the State Court Lawsuit and engaged in

  illegal activity:

                  a)       “At the time, I thought it was just more of the intimidation Mosler had hit
                           me with for years; but I was wrong. Mosler had already bribed Palm Beach
                           Circuit Court Judge Luis Delgado. It wasn’t until one year later that I knew
                           for certain that Judge Delgado had been bribed. Below is PROOF that
                           Judge Delgado accepted a bribe.”

                  b)       “Wealthy men who rape trafficked girls routinely bribe judges. Until now,
                           there was no way to prosecute the Judge.”

                  c)       “Click Here to see how Statistical Process Control methodology first
                           adopted by the Japanese Car Industry (how Toyota became #1 in quality)
                           can be used to identify when a Judge has taken a bribe. This methodology
                           was co-developed by James Todd Wagner and Yale School of Management
                           Professor, Arthur Swersey.”
      N. The WarrenMosler.co webpage - https://warrenmosler.co/proof-of-judicial-
         bribery/judgex-statistical-analysis-of-judge-luis-delgados-final-orders-delivering-
         the-win-to-multi-billionaire-mosler/

          27.     The https://warrenmosler.co/proof-of-judicial-bribery/judgex-statistical-analysis-

  of-judge-luis-delgados-final-orders-delivering-the-win-to-multi-billionaire-mosler/        webpage

  contains false and defamatory statements that Warren Mosler bribed the trial judge in the State

  Court Lawsuit and engaged in illegal activity.

      O. The Modern Monetary Theory Scam webpage - https://modernmonetarytheory-
         scam.com/




                                                    13
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 14 of 20




          28.     The          https://warrenmosler.co/top-fifty-favorite-warren-mosler-emails-and-

  documents-chonological-timeline/ webpage contains the following false and defamatory

  statements that Warren Mosler bribed the trial judge in the State Court Lawsuit and engaged in

  illegal activity:




      P. The Modern Monetary Theory Scam webpage - https://modernmonetarytheory-
         scam.com/the-predator-class/

          29.     The https://modernmonetarytheory-scam.com/the-predator-class/ webpage is

  defamatory and contains the following false and defamatory statements that Warren Mosler bribed

  the trial judge in the State Court Lawsuit and engaged in illegal activity:


                  a)     “I am grateful that Warren Mosler’s hubris was such that he bribed Judge
                         Luis Delgado to wipe out what would otherwise have been a $300M +
                         Judgement including FRAUD and PUNITIVE DAMAGES for
                         DEFAMATION-FOR-PROFIT.”
                  b)     “6. Illustrative of the fact that Warren Mosler isn’t very intelligent, but is
                         simply an excellent liar and scam orchestrator; Mosler’s idea was to destroy
                         my personal reputation while trying to preserve the reputation and public
                         image of the RaptorGTR as the highest power-to-weight hyperexotic of the
                         time.”
        30.       In context and by themselves, all the webpages available through the

  WarrenMosler.co, JudgeX.org, and ModernMonetaryTheory-Scam.com domains, and their

  subpages, are defamatory regarding Warren Mosler.



                                                   14
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 15 of 20




  Y.     The YouTube Videos.

         31.    In addition to James Todd Wagner’s statements on webpages available through the

  WarrenMosler.co, JudgeX.org, and ModernMonetaryTheory-Scam.com domains, and their

  subpages, James Todd Wagner has published YouTube videos making defamatory statements

  regarding Warren Mosler, which have been viewed numerous times:




         32.    However, JudgeX’s YouTube Channel was terminated on or about October 17,

  2024, for violating YouTube or Google Terms of Service.




                                               15
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 16 of 20




        33.   Since then, James Todd Wagner created a second YouTube Channel of Judge X0:




                                           16
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 17 of 20




          34.         Warren Mosler did not bribe Judge Delgado.

          35.         James Todd Wagner’s webpages available through the WarrenMosler.co,

  JudgeX.org, and ModernMonetaryTheory-Scam.com domains, and their subpages, and James

  Todd Wagner’s YouTube videos, are defamatory regarding Warren Mosler.

          36.         James Todd Wagner’s actions need to be stopped.

          37.         On October 28, 2024, James Todd Wagner was sent a cease and desist letter that

  demanded that James Todd Wagner remove defamatory statements from the internet sites. Yet,

  James Todd Wagner continues to publish the defamatory statements.

          38.         All conditions precedent to the filing of this lawsuit have been performed, have

  been waived, or are otherwise excused.

                                      COUNT I – DEFAMATION PER SE
                                     (AGAINST JAMES TODD WAGNER)

          39.         Above Paragraphs 1-38 of this Complaint are incorporated by reference and re-

  alleged herein.

          40.         Through James Todd Wagner’s statements on webpages available through the

  WarrenMosler.co, JudgeX.org, and ModernMonetaryTheory-Scam.com domains, and their

  subpages, and YouTube videos, James Todd Wagner has published, and continues to publish, false

  statements about Warren Mosler bribing the trial judge in the State Court Lawsuit and engaging in

  illegal activity.

          41.       James Todd Wagner published the above statements through the above-identified

  webpages which have been viewed by third parties.

          42.       Each of the statements are actionable as defamation per se because, when

  considered alone without innuendo, it charges that Warren Mosler has committed an infamous




                                                     17
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 18 of 20




  crime, tends to subject to Warren Mosler to hatred, distrust, ridicule, contempt, or disgrace, and/or

  tends to injure Warren Mosler in his trade or profession.

            43.     James Todd Wagner, at all times, acted with actual malice and knew that the

  statements would cause substantial harm to Warren Mosler.

            44.     James Todd Wagner knew of the falsity of these statements or acted with reckless

  disregard as to the falsity, yet continues to make them through the webpages and through YouTube

  videos.

            45.     James Todd Wagner’s actions exceed being merely knowing or reckless acts, but

  are clearly deliberate, even wanton acts.

            46.     James Todd Wagner’s publication of the statements to third parties is unprivileged

  and there is no qualified or unqualified privilege available to James Todd Wagner.

            47.     James Todd Wagner’s publication of the statements damaged Warren Mosler and

  damaged his reputation and James Todd Wagner is liable for monetary damages, compensatory

  damages, special damages, nominal damages, and punitive damages.

            WHEREFORE, Plaintiff respectfully demands a judgment in his favor and against

  Defendant for monetary damages, compensatory damages, special damages, nominal damages,

  punitive damages, together with pre-judgement and post-judgment interest and costs, preliminarily

  and permanently enjoining Defendant from further defaming Mosler, and awarding any other and

  further relief that this Court deems just and proper.

     COUNT II – UNAUTHORIZED PUBLICATION OF NAME OR LIKENESS – FLA.
                               STAT. § 540.08
                      (AGAINST JAMES TODD WAGNER)

            48.     Above paragraphs 1-38 of this Complaint are incorporated by reference and re-

  alleged herein.




                                                    18
Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 19 of 20




         49.     James Todd Wagner registered the domains warrenmosler.co, JudgeX.org, and

  ModernMonetaryTheory-Scam.com.

         50.     James Todd Wagner is publicly using the domains warrenmosler.co, JudgeX.org,

  and ModernMonetaryTheory-Scam.com for purposes of trade, commercial, and advertising

  purposes.

         51.     James Todd Wagner’s domain warrenmosler.co publicly publishes, prints, displays,

  and otherwise uses the name of Warren Mosler, the Plaintiff in this case.

         52.     James Todd Wagner intentionally used Warren Mosler’s name for the domain

  warrenmosler.co because James Todd Wagner is seeking to advertise James Todd Wagner’s

  JudgeX product, James Todd Wagner is seeking to damage Warren Mosler’s reputation, and James

  Todd Wagner has a bad faith intent to damage Warren Mosler by confusing persons who are

  seeking to go to Warren Mosler’s domain warrenmosler.com.

         53.     The webpages available through the WarrenMosler.co, JudgeX.org, and

  ModernMonetaryTheory-Scam.com domains, and their subpages, and James Todd Wagner’s

  YouTube videos at the JudgeX and Judge X0 channels, publicly publish, print, display, and

  otherwise use the name, portrait, photograph, and other likeness of Warren Mosler because James

  Todd Wagner is seeking to advertise James Todd Wagner’s JudgeX product, James Todd Wagner

  is seeking to damage Warren Mosler’s reputation, and James Todd Wagner has a bad faith intent

  to damage Warren Mosler by confusing persons who are seeking to go to Warren Mosler’s domain

  warrenmosler.com.

         54.     Warren Mosler has not orally consented, and has not consented in writing, to James

  Todd Wagner publicly publishing, printing, displaying, and otherwise using Warren Mosler’s

  name, portrait, photograph, and other likeness of Warren Mosler.




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Case 0:25-cv-60022-DSL Document 1 Entered on FLSD Docket 01/06/2025 Page 20 of 20




           55.   Warren Mosler has no adequate remedy at law and if James Todd Wagner’s actions

  are not enjoined then Warren Mosler will continue suffer irreparable harm.

           56.   Under Fla. Stat. § 540.08, Warren Mosler is entitled to, and hereby seeks to, enjoin

  James Todd Wagner’s unauthorized publication, printing, display or other public use of Warren

  Mosler’s name, portrait, photograph, and other likeness of Warren Mosler, and to recover damages

  for any loss or injury sustained by reason thereof, including an amount which would have been a

  reasonable royalty, and punitive or exemplary damages.

           WHEREFORE, Plaintiff respectfully demands a judgment in his favor and against

  Defendant for monetary damages, statutory damages, compensatory damages, special damages,

  nominal damages, punitive damages, together with pre-judgement and post-judgment interest and

  costs, preliminarily and permanently enjoining James Todd Wagner’s unauthorized publication,

  printing, display or other public use of Warren Mosler’s name, portrait, photograph, and other

  likeness of Warren Mosler, and awarding any other and further relief that this Court deems just

  and proper.



  Dated:         January 6, 2025                       Respectfully submitted,

                                                   By: /s/Steven D. Weber
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